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Gregory K. Zeuthen
210 S.W. Morrison Suite 400
Portland, OR 97204
(503)227-7257
(503)228-1556 FAX
gkz@zlawoffice.com (email)
OSB No.843961
Attorney for Plaintiff

Dan R. Hyatt
Hyatt Disability Law, P.C.
2106 4th St. Suite A
Tillamook, OR 97141
(360-609-0854)
(503)842-7065) FAX
Hizonr08@aol.com (e-mail)
OSB Bar no. 782524
Attorney for Plaintiff



                       IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF OREGON

                                      EUGENE DIVISION


ALLEN P. TOWNE,                                   )
                                                  )
                       Plaintiff,                 )
        v.                                        )      No.
                                                  )
UNITED STATES OF AMERICA,                         )
                                                  )
                                                  )
                       Defendant.                 )
                                                  )

                                        COMPLAINT




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Plaintiff, Allen P. Towne, alleges as follows:

1. This is an action for damages in excess of $75,000.00, exclusive of interest and costs.


2. The United States of America (hereinafter “defendant”) is the Defendant in this

    action pursuant to the Federal Tort Claims Act, 28 U.S.C. sec 1346(b) and sec 2671,

    et seq.


3. This Court has jurisdiction over this cause of action and venue properly lies in the

    Eugene Division because all acts and circumstances giving rise to this cause of action

    occurred in Lane County, Oregon, and Plaintiff resides in Lane County, Oregon.


4. At all times material, Judith Sabah, M.D., was a physician employed by Defendant

    acting within the course and scope of her employment with Defendant, as were her

    assistants and all other employees of the Veteran’s Administration Clinic in Eugene,

    Oregon.


5. At all times material, the Veteran’s Administration Clinic in Eugene, Oregon was

    owned and operated by Defendant, United States of America.


6. On or about September 5, 2020, completed administrative tort claim forms provided

    by Defendant were filed with the Department of Veteran’s Affairs-Office of General

    Counsel, Torts Branch, on behalf of Plaintiff, Allen P. Towne.


7. On January 28, 2021, Defendant denied Plaintiff’s tort claim and all conditions

    precedent to the filing of this Complaint have occurred or been waived.

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8. Plaintiff has exhausted his administrative remedies, and this matter is ripe for

    adjudication.


                            FACTUAL ALLEGATIONS

9. On or about September 19, 2018, Plaintiff presented to the Veteran’s Administration

    Clinic in Eugene, Oregon for right eye cataract surgery, consisting of

    phacoemulsification with posterior chamber intraocular lens placement by Dr. Sabah.

10. After cataract removal, Dr. Sabah placed an intraocular lens (“IOL”) into the

    posterior chamber.

11. After removal of the cataract and placement of the IOL, Dr. Sabah was attempting to

    perform a “washout” by syringe. Prior to use of the washout syringe, Dr. Sabah failed

    to remove the plastic cannula covering the injector trocar.

12. As a result of Dr. Sabah’s failure as described, the cannula was forcibly injected

    through the posterior capsule into vitreous chamber of Plaintiff’s right eye, causing

    damage as hereinafter described.

13. Believing the IOL to be damaged, Dr. Sabah thereafter removed the IOL and

    performed an anterior vitrectomy. Thereafter, Dr. Sabah attempted to place a second

    IOL, unsuccessfully, tearing the posterior capsule and injuring the vitreous further.

    The second lens was removed. Dr. Sabah then performed an additional anterior

    vitrectomy causing even more damage to plaintiff’s eye and its structures. Plaintiff

    was left aphakic and the procedure was terminated.

14. Subsequently, Plaintiff was required to undergo additional surgeries on September

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    26, 2019, October 19, 2019, March 6, 2019, March 22, 2019, and May 29, 2019 in an

    effort to restore vision in his right eye.

15. Plaintiff has suffered and continues to suffer pain, vision loss, loss of depth

    perception, blood clots, dizziness, loss of acuity and his activities have been

    significantly reduced as a further consequence.

                       ALLEGATIONS OF NEGLIGENCE

16. At all times material, Defendant’s agents and employees, Including Dr. Sabah, had a

    duty to provide that degree of care and skill exercised by a reasonable and prudent

    health care provider in the same or similar circumstances during their treatment of

    Plaintiff, Allen P. Towne.

17. Defendant, by and through its employees and agents, including Dr. Sabah, breached

    the standard of care and were negligent in the following particulars:

        a. By failing to remove the cannula from the washout injector prior to attempting

            washout of Plaintiff’s eye;

        b. By removing the Intraocular Lens that had been placed during surgery, where

            removal was not only unnecessary, but caused more damage to Plaintiff’s eye;

            and

        c. By unsuccessfully attempting to place a second intraocular lens, causing more

            damage to the eye and its structures.

18. As a direct and proximate result of the negligence of Defendant’s employees and

    Agents as stated above, Plaintiff Allen P. Towne suffered serious, permanent and

    disabling injuries, physical and emotional pain and suffering, and pecuniary loss.

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    WHEREFOR, Plaintiff Allen P. Towne demands judgment against Defendant United

    States of America in the amount $400,000.00, plus his costs and disbursements

    incurred herein.


DATED this 9th day of January 2021.



                                             ______________________________
                                             BY:
                                             Gregory K. Zeuthen
                                             210 S.W. Morrison St. Suite 400
                                             Portland, OR 97204
                                             (503) 227-7257
                                             (503) 228-1556 (FAX)
                                             gkz@zlawoffice.com
                                             Bar No. 843961
                                             Attorney for Plaintiff




                                              /s/ Dan R. Hyatt
                                             _____________________________
                                             Dan R. Hyatt
                                             Hyatt Disability Law, P.C.
                                             2106 4th St-Suite A
                                             Tillamook, OR 97141
                                             (360) 609-0854
                                             (503) 842-7065 (FAX)
                                             Hizonr08@aol.com
                                             Bar No 782524
                                             Attorney for Plaintiff




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